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F WYOMING
IN THE UNITED STATES DISTRICT COURT MAY 45 .,,
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St 2,
FOR THE DISTRICT OF WYOMING Margaret 3&2 .

evenne Clerk
UNITED STATES OF AMERICA,
No. eS = GU t=

 

Plaintiff,
18 U.S.C. § 844(i)
Vv. (Arson of a Facility Engaged in

Interstate Commerce)
LORNA ROXANNE GREEN,

 

Defendant.

 

INDICTMENT

 

THE GRAND JURY CHARGES THAT:

On or about May 25, 2022, in the District of Wyoming, the Defendant, LORNA
ROXANNE GREEN, maliciously damaged and destroyed, and attempted to damage and destroy,
by means of fire a building located at 918 East Second Street, Casper, Natrona County, Wyoming,
which building, contents and property were used in and affecting interstate commerce and were
used in activities affecting interstate commerce.

In violation of 18 U.S.C. § 844(i).

A TRUE BILL:

Ink Signature on File
FOREPERSON

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{CHOLAS fea
United States Attorney
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PENALTY SUMMARY
DEFENDANT NAME: LORNA ROXANNE GREEN
DATE: May 16, 2023
INTERPRETER NEEDED: No
VICTIM(S): Yes
OFFENSE/PENALTIES: 18 U.S.C. § 844(i)
(Arson of a Facility Engaged in Interstate Commerce)
5-20 Years Imprisonment
Up to $250,000 Fine
3 Years Supervised Release
$100 Special Assessment
AGENT: Krystal Stevenson, ATF
AUSA: Stephanie I. Sprecher
Assistant United States Attorney
ESTIMATED TIME OF 1 to 5 days
TRIAL:
WILL THE GOVERNMENT
SEEK DETENTION IN THIS No
CASE:
ARE THERE DETAINERS
FROM OTHER No

JURISDICTIONS:
